                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                   3:14-CR-00017-RJC
 USA                                               )
                                                   )
                                                   )
    v.                                             )          ORDER
                                                   )
 TOMONTA SIMMONS                                   )
                                                   )
                                                   )

         THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

No. 825), the Petition alleging a violation of the Defendant’s supervised release, (Doc. No. 788),

without prejudice.

         Since the filing of the Petition, the parties have agreed to a modification of the conditions

of the defendant’s supervision. (Doc. No. 821: Motion; Doc. No. 824: Order). Therefore, the

Court finds good cause to grant the requested relief.

         IT IS ORDERED that the Government’s motion, (Doc. No. 825), is GRANTED and the

Petition alleging a violation of the Defendant’s supervised release, (Doc. No. 788), is

DISMISSED without prejudice.

                                                 Signed: February 8, 2016




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